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§AO 440 (Rev. 8/01) Summons in a Civil Action

UNITED STATES DISTRICT CoUiFi‘~:a C"EW ED

 

 

M|DDLE District of ALABWMM|D.D§_EDV|:§|@B
U.S. BANCORP EQU|PMENT F|NANCE, |NC., a l ll lllll l ,ll:ll] _l_ll l l l
corporation, -.1._ L?n. . . _

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V.
AFCO, |NC., and FRANK E. JOHNSTON,

CASENUMBER; 210(,¢@//@7-/&

TO§ (Name and address of Defendant)

AFKO, |nc.
615 Hambrick Road
Boaz, Alabama 35957

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNEY (name and address)

C. E|tis Brazea| ||l

Wa|ston, We||s & Bircha|l, l_LP
1819 Sth Avenue North

Suite 1100

Birmingham, Alabama 35203

an answer to the complaint which is served on you with this summons, within 20 days after service
of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

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(By) DEPUTY CLERK

 

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RETURN OF SERVICE

 

DATE
Service ofthe Summons and complaint was made by mem r7 /0? (WLZ, 2 c d é,/_

 

 

 

NAME OF SERVER (PRINT) TITLE _
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Check one box beldw to indicate appropriate method of`service

 

l;] Served P€rsonally upon the defendant Placewhere served: /71 F K O y I/\/(/ Cy; /':,/Jvmk: 6

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_ _ GamZ /?{)rt 4_¢/_»»4-\- 3575-my
l:| Left copies thereofat the defendant’s dwelling house or usual plaée o a ode with a person of suitable age and
discretion then residing therein.

Name ofperson with whom the summons and complaint were left:

l:| Returned unexecuted:

D Other (specify):

 

STATEMENT OF SERVICE FEES

 

TRAVEL sEvacEs TOTAL
$0.00

 

 

 

DECLARATION OF SERVER

 

l declare under penalty ofperjury under the laws ofthe United States of America that the foregoing information
contained in the Return ofService and Statement of Service Fces is true and coiTect.

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Dale Signature$f.$'erver

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Address ofServer l/'

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(l) As to who may serve a summons see Rule 4 ofthe Federal Rules of Civil Procedui'e.

